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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 9:13-CV-80670-KAM

   AJA DE LOS SANTOS, on behalf of herself
   and others similarly situated,
   Plaintiff,

   vs.

   MILLWARD BROWN, INC., A Delaware
   Corporation,
   Defendant

                             MOTION FOR FINAL
                    APPROVAL OF CLASS ACTION SETTLEMENT
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          I.      INTRODUCTION
          Plaintiff, Aja De Los Santos, individually and as representative of the Settlement Class
  Members, submits this motion and memorandum in support of final approval of the class action
  settlement with Defendant, Millward Brown, Inc. (“Millward”) that was preliminarily approved
  by the Court February 10, 2015. [ECF No. 77].
          This proposed class action settlement concerns allegations that Millward placed automated
  “market research” calls to the wireless telephones of consumers through the use of an automatic
  telephone dialing system, without the prior consent of Plaintiff and the putative class members, in
  violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (the “TCPA”).
  Millward vigorously denies these allegations.
          Both Parties were mindful of the benefits to each party, the putative class, and the Court in
  addressing the prospect of settlement in good faith, as soon as practicable in the course of litigation.
  However, it was not until after Millward’s motion to dismiss was denied, not until after exchanging
  robust discovery, and not until after two separate mediation before an experienced mediator that
  this proposed settlement was reached. As a result of the mediations, Plaintiff and Millward were
  able to reach a settlement, which took over five months itself to negotiate. A true and accurate
  copy of the Settlement Agreement and Release (“Agreement”) attached hereto as Appendix 1.
          Under the Agreement, Millward has agreed to pay Eleven Million Dollars
  ($11,000,000.00) for the benefit of the Settlement Class who submit claims, to cover Settlement
  Notice and Administrative Expenses, the Approved Fee Award, and the Approved Incentive
  Award for the Class Representative. The settlement will provide each Settlement Class Member
  who submitted a timely, valid Claim Form fifty dollars ($50.00).
          The Court set April 27, 2015 for persons who were sent the initial notice and July 31, 2015
  for persons sent the supplemental notice as the dates to submit exclusions or objections. [ECF No.
  77, ¶14; ECF No. 81, ¶¶1-2]. No one has objected to the Agreement and there have only been
  twenty-two requests for exclusion (or .0044%). See Declaration of James R. Prutsman, MBA in
  Support of Plaintiff’s Motion for Final Approval at ¶¶17-18.
          Furthermore, the Agreement includes non-monetary relief. As set forth in Section 3 of the
  Agreement, Millward has changed its practices to avoid non-compliance with the TCPA by
  eliminating its telephone calling systems, and any third party vendors Millward engages for

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  telephone survey research are required to ensure compliance with the TCPA. The nonmonetary
  relief is significant and benefits not only the class, but society as a whole. Appendix 3 at p. 10.
  The economic value of the nonmonetary relief has been valued at over Forty Two million dollars.
  Id. at p.11. Although a significant benefit, Class Counsel has not sought fees on any such value.
           In this case, 7,599 persons submitted Claim Forms. See Appendix 2 at ¶16. That is 1.59%
  of the class who received direct notice and is within the range of similar TCPA class cases that
  have been granted final approval. 1 Further, unlike many defendants who made calls that were
  alleged to violate the TCPA, Millward is not a household name and it was making a small number
  of survey calls per number. In fact, many of the calls Plaintiff’s counsel’s office received from
  class members were from people who did not recognize the Defendant, which may have
  contributed to the claim rate. . See Appendix 4 Keogh Decl., ¶34. Regardless, whether a claim
  was submitted, the class benefited from both the non-monetary relief and availability of the fund.
           As shown below, the Agreement easily meets the standards for final approval. In granting
  preliminary approval, the Court found subject to final approval that the Agreement is fair,
  reasonable, adequate, and meriting notice to the class. [ECF No. 72, ¶2]. Nothing has changed to
  alter that conclusion. The Agreement is the product of arm’s length negotiations between
  Defendant and experienced Class Counsel, and was reached with the guidance of Rodney Max
  who is well regarded as a skilled mediator. As a result, the Agreement is presumptively fair,
  reasonable and adequate. In re Sturm, Ruger & Co., Inc., No. 09cv1293, 2012 U.S. Dist. LEXIS
  116930 at *12 (D. Conn. Aug. 20, 2012) (“the settlement was reached by experienced, fully-
  informed counsel after arm’s length negotiations with the assistance of a mediator and therefore
  the parties are entitled to a presumption that the settlement was fair, reasonable and adequate.”)
           This presumption is bolstered by the Agreement’s terms. The non-monetary and monetary
  relief secured on behalf of the class are significant and warrant final approval.
           II.     SUMMARY OF THE LITIGATION, MEDIATION & SETTLEMENT
           On July 11, 2013, Plaintiff, Aja De Los Santos, commenced this class action against


  1
    See Wood Dale Chiropractic, Ltd. V. DrFirst.com, Inc., 1:12-cv-00780, (N.D. Ill) (1.97 % of the class made claims);
  North Suburban Chiropractic Clinic, Ltd v. Zydus Pharmaceuticals (USA) Inc., 1:13-cv-03105 (N.D. Ill.) (.13% of
  the class made claims); North Suburban Chiropractic Clinic Ltd. V. Rx Security, Inc., 1:13-cv-06897 (N.D. Ill.) .53%
  of the class made claims); Agne v. Papa John's International Inc. et al, 2:10-cv-01139 (D. Wa.) (1.52% of the class
  made claims); Spillman v. RPM Pizza, LLC et al, 10-cv-0349 (M.D. La.) (.07% of the class made claims).

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  Millward, by filing her First Amended Class Action Complaint, alleging that Millward violated
  the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., (“TCPA”) by using an automatic
  telephone dialing system to place automated “market research” calls to the cellular telephones of
  consumers, without the prior consent of Plaintiff and the putative class members. [ECF No. 4, 5].
  Millward moved for dismissal of Plaintiff’s Complaint. [ECF No. 15]. Plaintiff filed her Second
  Amended Class Action Complaint to address any alleged technical deficiencies and to pare down
  the issues for consideration by the Court in the Motion to Dismiss. [ECF No. 25]. Millward again
  moved for dismissal. [ECF No. 28].
         Based on Millward’s constitutional challenge to the TCPA in its motion to dismiss, the
  United States intervened in support of the TCPA. [ECF No. 53, 54]. Millward filed a Reply to the
  United States’ Memorandum of Law in Support of the TCPA. [ECF No. 63].
         On June 16, 2014, the parties attended a full day mediation session before a private, third-
  party mediator, Rodney Max of Upchurch, Watson, White, and Max.2 The parties did not reach a
  settlement, but discussed matters which would advance their ability to engage in meaningful
  settlement negotiations. Following that initial mediation, negotiations continued by a series of
  conference calls with the mediator between June 16, 2014 and July 21, 2014. On June 30, 2014 the
  Court denied Millward’s Motion to Dismiss. [ECF No. 66].
         On July 21, 2014, the parties attended a second full day mediation before Mr. Max. As a
  result of this mediation, the Parties reached a preliminary settlement of the matter. The parties
  spent over five months negotiating the final terms of the agreement and drafting the necessary
  papers to affect their understanding of the Settlement. A copy of the settlement agreement is
  attached as Appendix 1.
         SETTLEMENT TERMS
         The Settlement Class is defined as follows:
         All persons who, on or after July 9, 2009 through the date of Preliminary
         Approval, received one or more non-emergency contacts from Millward or
         any of its agents, parents, affiliates or subsidiaries, to their cellular
         telephone through the use of an automatic telephone dialing system and/or
         an artificial or prerecorded voice for which they did not consent.


     2
      Rodney Max is a principal at Upchurch, Watson, White, and Max. Max is a Florida Supreme
  Court Certified Circuit Civil Mediator having conducted more than 4,000 mediations.
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  Appendix 1, §1.36 .

           The Agreement provides in paragraph 1.1 that Millward shall commit funds of up to Eleven
  Million Dollars ($11,000,000.00) for the benefit of the Class. A Settlement Class Member who
  properly and timely submits a Claim Form for an Approved Claim will receive $50 from the Net
  Settlement Fund. In addition to the c l a s s f u n d , Millward has agreed to the following:

                    A.       As a result of this lawsuit, Millward has changed its practice to avoid
  non-compliance with the TCPA. It has eliminated its telephone calling systems, and any third
  party vendors Millward engages for telephonic survey research are required to ensure compliance
  with the TCPA. Appendix 1, § 2.4.
                    B.       Millward has agreed to pay the cost of the Notice Plan, costs for the
  Settlement Website and postage. The notice costs to date are $347,064, with approximately
  $34,000 estimated in further costs for distribution and finalization. Appendix 2 at ¶19.
                    C.       Subject to court approval, Plaintiff shall, in addition to any recovery that he
  is entitled to as a Settlement Class Member, be awarded an Incentive Award not to exceed of five
  thousand dollars ($5,000.00) 3.
                    D.       Payment of Attorneys’ Fees: Under the Agreement, and subject to Court
  approval, the Parties have agreed that Plaintiff’s Counsel may apply to this Court for awards of
  attorneys’ fees for 25% of the settlement fund, a sum not to exceed two million seven hundred
  fifty thousand ($2,750,000.00) in attorneys’ fees and costs associated with the Action. The
  Postcard Notice, Website and Long Form Notice all informed potential Settlement Class Members
  of both the exact dollar amount and percentage that Class Counsel is requesting. As noted above,
  no class member has objected.



  3
    See Albert Conte and Herbert B. Newberg, 4 NEWBERG ON CLASS ACTIONS, §11.38 (4th ed.). Indeed, “since
  without the named plaintiff there can be no class action, such compensation as may be necessary to induce him to
  participate in the suit could be thought the equivalent of the lawyers’ non-legal but essential case specific expenses.”
  Service awards for named plaintiffs in TCPA class actions have been regularly granted. Saf-T-Gard v Seiko, 09 C 776
  (N.D. Saf-T-Gard v Seiko, 09 C 776 (N.D. Ill. 2011) (Judge Bucklo) ($12,500 to named plaintiff in TCPA class);
  Gibson & Company Insurance Brokers, Inc. v. QFA Royalties LLC., 06-cv-05849-PSG-PLA Document 212 (C.D. Ca.
  2009) ($15,000 to the named plaintiff for service payment in TCPA class settlement); Nicholson v Hooters of Augusta,
  Inc., 95-RCCV- 616 (Richmond County, Ga. April 25, 2001) ($15,000 to the named plaintiff in a TCPA class action
  for service payment).

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              A. Release. In exchange for the relief described above, the release is applicable to all
   Non-Excluded Class Members and releases any and all claims as more fully set forth in the
   Settlement Agreement, arising from Millward’s placement of non-emergency telephone calls to a
   cellular telephone through the use of an automatic telephone dialing system and/or an artificial or
   prerecorded voice. The full scope of the release, and its exact terms, is fully set forth at Sections
   1.30 and 3 of the Parties’ Settlement Agreement and Release, hereto attached as Appendix 1 and
   set forth in ECF No. 75.
          III.    NOTICE PROVIDED WAS MORE THAN SUFFICIENT.

          Federal Rule 23 requires a court to direct to class members “the best notice that is
   practicable under the circumstances” describing, among other things, the action, the class certified,
   and class members’ right to exclude themselves. Fed. R. Civ. P. 23(c)(2)(B). Further, before
   granting final approval to a proposed class settlement, the court must “direct notice in a reasonable
   manner to all class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1).
   Finally, the Due Process Clause also guarantees unnamed class members the right to notice of a
   class settlement. U.S. v. Alabama, 271 F. App’x 896, 901 (11th Cir. 2008).
          To satisfy these requirements, notice of a class settlement must “apprise class members of
   the terms of the settlement agreement in a manner that allows class members to make their own
   determination regarding whether the settlement serves their interests.” See Alabama, 271 F. App’x
   at 901; see also In re CP Ships Ltd. Sec. Litig., 578 F.3d 1306, 1314 (11th Cir. 2009) abrogated on
   other grounds by Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247 (2010) (“Notice must be
   ‘reasonably calculated, under all the circumstances, to apprise interested parties of the pendency of
   the action and afford them an opportunity to present their objections.’”), quoting Mullane v. Cent.
   Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).
          Neither Rule 23 nor Due Process require all class members to receive actual notice. See
   Juris v. Inamed Corp., 685 F.3d 1294, 1321 (11th Cir. 2012). In determining the sufficiency of
   the class notice, courts “look solely to the language of the notices and the manner of their
   distribution.” Alabama, 271 F. App’x at 901, quoting Adams v. Southern Farm Bureau Life Ins.
   Co., 493 F.3d 1276, 1286 (11th Cir. 2007). Moreover, the notice “need not include every material
   fact or be overly detailed.” Faught v. Am. Home Shield Corp., 668 F.3d 1233, 1239 (11th Cir.
   2011) (internal quotations omitted).
                                                    10
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          The notice plan approved by the Court provided the best notice practicable. First, the plan
   required the Notice and Claims Administrator to send the Postcard Notice and a Claim Form via
   regular mail to potential Settlement Class Members identified by using a reverse look-up service
   to determine the contact information for each unique number. [ECF 77, at ¶¶11, 13].
          Second, the plan required the Notice and Claims Administrator to erect a settlement
   website that served as a supplement for conventional notice, provided links to the Agreement and
   enabled Settlement Class Members to make on-line submissions of their claims. [ECF No. 77,
   ¶¶11, 13]. The notices also provided a toll free number. Appendix 2, at Exhibits B-C.
          The notices gave Settlement Class Members a detailed explanation of the Agreement,
   including the relief, the releases and amount of the proposed Incentive Award and the costs and
   exact amount of Class Counsel Legal Fees to be requested, to enable them to evaluate their options
   and make an informed decision. In approving the Notice and Claims Procedures, the Court found:
   “The Notice, as directed in this Order, constitutes the best notice practicable under the unique
   circumstances of this case and is reasonably calculated to apprise the members of the Settlement
   Class of the pendency of this Action and of their right to object to the Settlement or exclude
   themselves from the Settlement Case. The Court further finds that the Notice program is
   reasonable, that it constitutes due, adequate and sufficient notice to all persons entitled to receive
   such notice and that it meets the requirements of due process and of Federal Rule of Civil
   Procedure 23.” [ECF No. 77, ¶13]. These conclusions remain correct.
          The Notice and Claims Administrator followed the Court-approved Notice and Claims
   Procedures. Pursuant to the Court’s orders, Millward provided a list of class members to the
   Claims Administrator containing a list of 561,857 cellular telephone numbers that were at issue.
          As directed by the Settlement Agreement section 4.2, the claims administrator worked with
   a national data provider to perform an initial reverse lookup to obtain the name and address for the
   owner for each cell phone number. Appendix 2, at ¶3. The initial search returned 515,960 names
   and addresses. Id. The claims administrator worked with a subsequent national data provider to
   perform a second reverse lookup on the remaining 45,897 cell phone numbers. Id. The secondary
   source was able to identify names and addresses for an additional 16,299 class members. Id.
   Direct individual notice of the Agreement was mailed to 532,259 class members on March 12,
   2015. Id., at ¶9. Of these notices, 2,770 were returned as undeliverable were re-mailed to

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   forwarding addresses. Id., at ¶10. Subsequent to this re-mailing, 14 notices were returned by UPS
   as undeliverable with a forwarding address. Id.
          The claims administrator received 47,572 returned as undeliverable without a forwarding
   address. Id., at ¶11. A secondary search was utilized and an alternate address was found for 22,130
   records. Id. The claims administrator determined that 8,460 of the returned records had been sent
   with the name “Null,” due to the fact that they were businesses. Id., at ¶12. As the parties informed
   the Court in their Stipulated Motion to Extend the Fairness Hearing to Allow Supplemental Notice
   (ECF No. 80), a total of 30,590 known class members either had their notice returned as
   undeliverable or were sent notices address to “Null” (as they were businesses). Appendix 2, at
   ¶¶11-12. This Court granted this motion to allow supplemental notice. [ECF No. 81]. On June
   12, 2015, these 30,588 notices were mailed. 4 Appendix 2, at ¶13. Additionally, a copy of the
   Court’s May 30, 2015 Order was posted to the Class Settlement Website. Id. at ¶14.
          The Notice and Claims Administrator set up the Settlement Website as well as a Call-In
   Line for class members to call with any questions as well as request a claim form and long form
   notice be mailed to them. As of August 17, 2015, the website has been visited 21,860 times by
   18,461 unique visitors. Appendix 2 at ¶14. The claims administrator has handled a total of 4,061
   phone calls at the 800 number. Id. at ¶15. In addition, CAFA notice and supplemental CAFA
   notice was sent as required. Id. at ¶4, see Id. at Exhibit A.
          Class Members who were sent the initial notice had until April 27, 2015 to request
   exclusion, object, or submit a Claim Form. [ECF No. 77, ¶¶14, 20]. Class Members who were
   sent supplemental notice had until July 31, 2015 to request exclusion, object, or submit a Claim
   Form. [ECF No. 81 at ¶1(a)]. As noted above, so far 7,599 Settlement Class Members filed Claim
   Forms, only twenty-two requested exclusion and no objections were filed. Appendix 2 at ¶16-18.
   The notice complied with the court-approved plan, satisfied Rule 23 and Due Process, and fully
   apprised the Settlement Class of all material terms as well as how to obtain additional information.
          IV.     THE SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE, AND
                  THUS IT MERITS FINAL APPROVAL

          Judicial and public policy favor the voluntary settlement of complex class action litigation. In


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    Two notices were not sent because it was determined that the address corresponded to a class
   member who had already excluded themselves from the settlement.
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   re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992) (“Public policy strongly favors the pretrial
   settlement of class action lawsuits”); Warren v. City of Tampa, 693 F. Supp. 1051, 1054 (M.D. Fla.
   1988) (“[S]ettlements are highly favored in the law.”), aff’d, 893 F.2d 347 (11th Cir. 1989). With a
   settlement, the class members are ensured a benefit as opposed to the “mere possibility of recovery at
   some indefinite time in the future.” In re Domestic Air Transport. Antitrust Litig., 148 F.R.D. 297,
   306 (N.D. Ga. 1993).
           Although approval of a settlement is a matter within the Court’s discretion, some deference
   should be given to the consensual decision of the Parties. See Warren, 693 F. Supp. at 1054
   (“affording great weight to the recommendations of counsel for both parties, given their considerable
   experience in this type of litigation.”). Ultimately, the Court should approve a class action settlement
   if it is fair, adequate, and reasonable, and not the product of collusion. Bennett v. Behring Corp., 737
   F.2d 982, 986 (11th Cir. 1984).
           When conducting this analysis, the Court “should always review the proposed settlement in
   light of the strong judicial policy that favors settlements.” In re Sunbeam Sec. Litig., 176 F. Supp.2d
   1323, 1329 (S.D. Fla. 2001). In determining whether a settlement is “fair, adequate, and reasonable,”
   the following factors are generally considered:
                   (1) the likelihood of success at trial; (2) the range of possible recovery;
                   (3) the point on or below the range of possible recovery at which a
                   settlement is fair, adequate and reasonable; (4) the complexity,
                   expense and duration of litigation; (5) the substance and amount of
                   opposition to the settlement; and (6) the stage of proceedings at which
                   the settlement was achieved.

   Bennett, 737 F.2d at 986. In addition, the Court makes an inquiry into “whether the settlement was
   procured by collusion among the parties or was the result of arm’s length and informed
   bargaining.” Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1315 (S.D. Fla. 2005); see also
   In re Sunbeam Sec. Litig., 176 F. Supp. 2d at 1329 (“In determining whether to approve a proposed
   settlement, the cardinal rule is that the District Court must find that the settlement is fair, adequate
   and reasonable and is not the product of collusion between the parties.”)
           Ultimately, “[a] settlement is fair, reasonable and adequate when ‘the interests of the class
   as a whole are better served if the litigation is resolved by the settlement rather than pursued.’” In
   re Checking Acct. Overdraft Litig., 830 F. Supp.2d 1330, 1344 (S.D. Fla. 2011) (citation omitted).

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          Here, the Agreement easily passes both tests, having been the product of arm’s length,
   informed negotiations between the Parties with the assistance of a neutral mediator, and satisfying
   each of the Eleventh Circuit’s Bennett factors.
               A. The Agreement Is the Result of Arm’s Length Negotiation between the
                  Parties with the Assistance of an Experienced Mediator.

          The context in which the Agreement was reached confirms that it was the result of arm’s
   length and informed negotiations among the Parties, and not collusion.
          To start, the Agreement only came about after the motion to dismiss was denied,
   intervention by the government as to the constitutional question and engaging in formal and
   informal discovery. To reach that point, the Parties conducted two separate in-person mediation
   sessions and multiple telephonic conference calls by a highly experienced and well-respected
   neutral, Rodney Max. See Ingram v. The Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001)
   (“The fact that the entire mediation was conducted under the auspices of …. a highly experienced
   mediator, lends further support to the absence of collusion.”); see also Checking Account Overdraft
   Litig., 275 F.R.D. at 662 (finding no collusion where settlement was reached with capable and
   experienced counsel and with the assistance of a well-qualified and experienced mediator).
   Moreover, the Parties reached the Settlement through experienced counsel, who had at their
   disposal ample information about the case facts to evaluate the terms of any proposed agreement,
   so as to reach a fair compromise. See Appendix 4 Keogh Decl., ¶24 Appendix 5 Owens Decl.,
   ¶¶26-28 and Appendix 6 Lusskin Decl., ¶¶12-14.
          As such, it is clear the Agreement is the result of arm’s length and informed negotiation
   between the Parties, not collusion, and thus the Court should not hesitate to approve it.
               B. The Agreement Satisfies Each of the Eleventh Circuit’s Bennett Factors.
          In addition to being the result of arm’s length negotiations, the Agreement also satisfies
   each of the Bennett factors. While the Eleventh Circuit instructs district courts to consider the
   Bennett factors, “[i]n evaluating these considerations, the district court should not try the case on
   the merits.” Perez v. Asurion Co., 501 F. Supp.2d 1360, 1380 (S.D. Fla. 2007) (citation omitted).
   “Rather, the court ‘must rely upon the judgment of experienced counsel and, absent fraud, ‘should
   be hesitant to substitute its own judgment for that of counsel.’” Id. Here, as explained below, each
   of the Bennett factors weighs in favor of approving the Agreement.

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            1.       Likelihood of Success at Trial
            The first Bennett factor to consider in determining whether a settlement is fair, reasonable,
   and adequate is the likelihood of success at trial. “The likelihood of success on the merits is
   weighed against the amount and form of relief contained in the settlement.” Lipuma, 406 F.
   Supp.2d at 1319. Where success at trial is not certain for a plaintiff, this factor weighs in favor of
   approving the settlement. See Newman v. Sun Capital Corp., No. 09-cv-445, 2012 U.S. Dist.
   LEXIS 121843 at *30 (M.D. Fla. Aug. 28, 2012).
            Here, Plaintiff’s and the Settlement Class Members’ ultimate success at trial is far from
   guaranteed. Plaintiff’s counsel is confident in the strength of the claims alleged in the Complaint
   and that Plaintiff would ultimately prevail at trial. Notwithstanding the foregoing, litigation is
   inherently unpredictable and the outcome of a trial is never guaranteed. Indeed, Plaintiff faced
   significant risk in taking this matter to trial, including the possibility that the case would be
   defeated in dispositive pre-trial motions practice, the Court would deny class certification, or that
   the result at trial would be in Millward’s favor. See Appendix 4 Keogh Decl., ¶¶28-32.
            These risks include arguments relating to class ascertainability, typicality, individual
   questions of consent, and whether Millward used a telephone system that was in fact an automatic
   telephone dialing system. See Warnick v. Dish Network, LLC, No. 1:12-cv-1952, Document No.
   259 (D. Colo. Oct. 30, 2014) (denying class certification with prejudice). See also Jamison v First
   Credit Servs., Inc., No. 1:12-cv-04415, Document No. 120 (N.D. Ill. July 29, 2013) (denying the
   motion for reconsideration of class denial).
            Further, at least some courts view awards of aggregate, statutory damages with skepticism
   and reduce such awards—even after a plaintiff has prevailed on the merits—on due process
   grounds. See, e.g., Aliano v. Joe Caputo & Sons - Algonquin, Inc., No. 09 C 910, 2011 U.S. Dist.
   LEXIS 48323, at *13 (N.D. Ill. May 5, 2011) (“[T]he Court cannot fathom how the minimum
   statutory damages award for willful FACTA violations in this case — between $100 and $1,000
   per violation—would not violate Defendant’s due process rights . . . . Such an award, although
   authorized by statute, would be shocking, grossly excessive, and punitive in nature.”) 5.
            In addition, Plaintiff recognizes the expense, duration, and complexity of protracted

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     But see Phillips Randolph Enters., LLC v. Rice Fields, No. 06 C 4968, 2007 U.S. Dist. LEXIS 3027, at *7-8 (N.D.
   Ill. Jan. 11, 2007) (“Contrary to [defendant’s] implicit position, the Due Process clause of the 5th Amendment does
   not impose upon Congress an obligation to make illegal behavior affordable, particularly for multiple violations.”).
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   litigation would be substantial and possibly require further briefing on numerous substantive
   issues, and extensive trial preparation and appeal. Against the inherent uncertainty raised by these
   issues is the concrete nature of the relief afforded under the Agreement, where each Class Member
   to submit a valid and timely Claim Form will recover $50. As such, because success at trial is far
   from certain and the value of the Agreement is unquestionably strong, the first Bennett factor
   weighs in favor of approving the Agreement.


            2.       Range of Possible Recovery and the Point at which the Agreement Is Fair,
                     Reasonable, and Adequate

            Analysis of the second and third Bennett factors—the range of possible recovery and the
   point in that range at which a settlement is fair, adequate and reasonable—are often combined. In
   re Sunbeam, 176 F. Supp.2d at 1331. As in most litigation, “[t]he range of potential recovery
   ‘spans from a finding of non-liability through varying levels of injunctive relief,’ in addition to any
   monetary benefits to class members.” Figueroa v. Sharper Image Co., 517 F. Supp.2d 1292, 1326
   (S.D. Fla. 2007), quoting Lipuma, 406 F. Supp.2d at 1322. However, “the Court’s role is not to
   engage in a claim-by-claim, dollar-by-dollar evaluation, but rather, to evaluate the proposed
   settlement in its totality.” Figueroa, 517 F. Supp.2d at 1326.
            The monetary relief secured on behalf of the Settlement Class is substantial. Each Class
   Member submitting a timely and valid claim will receive $50. The Agreement’s terms are also
   fair, reasonable, and adequate when compared to other TCPA class settlements. 6 The relief
   available to each Settlement Class Member here easily surpasses the potential per-class-member
   benefit conferred in other TCPA class settlements that have received final approval. See In re
   Enhanced Recovery Co., 13-md-2398-RBD-GJK (M.D. Fla. July 29, 2014) at DE 123, p. 1 (only
   injunctive relief for class) and ECF No. 124 (settlement granted final approval); In re Capital One
   TCPA Litigation, 12-cv-10064 (MDL No. 2416) (N.D. Ill. Feb. 12, 2015) (Holderman J.) (granting
   final approval were each claimant would be awarded $39.66); Steinfeld v. Discover Fin. Servs.,
   No. 12-1118, 2014 U.S. Dist. LEXIS 44855 at *4 and *11-*12 (N.D. Cal. Mar. 31, 2014) ($46.98



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     The TCPA provides a potential recovery of $500 and $1,500 if willful, but this does not take into consideration the
   risk of losing. Factoring in that risk in settlement necessitates a discounted recovery. As shown here, many courts
   have approved settlements providing a much lower per-class member benefit.
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   to each claimant) 7.
           The non-monetary relief secured on behalf of the Settlement Class is also significant and
   may be more significant than the monetary relief. As set forth in Section 3 of the Agreement,
   Millward has changed its practices to avoid non-compliance with the TCPA by eliminating its
   telephone calling systems, and any third party vendors Millward engages for telephone survey
   research are required to ensure compliance with the TCPA. The nonmonetary relief has been
   valued at over forty-two million dollars ($42,283,627). Appendix 3.
           As such, the Agreement is well within the range of what is fair, adequate and reasonable for
   a TCPA Settlement of this magnitude. Thus, the second and third Bennett factors support approval.
           3.       The Complexity and Expense of Further Litigation
           The next factor is the complexity and expense of further litigation. In evaluating this factor,
   courts “should consider the vagaries of litigation and compare the significance of immediate
   recovery by way of the compromise to the mere possibility of relief in the future, after protracted
   and expensive litigation.”       Lipuma, 406 F. Supp.2d at 1323 (citation omitted). “The law favors
   compromises in large part because they are often a speedy and efficient resolution of long,
   complex, and expensive litigation.” Perez, 501 F. Supp.2d at 1381, quoting Behrens v. Wometco
   Enters., Inc., 118 F.R.D. 543, 543 (S.D. Fla. 1988).
           This factor favors approving the Agreement because the expense and complexity of further
   litigation would be substantial. It would require pretrial motion practice, a final pretrial order and
   final pretrial conference, and conducting a trial.           If the Court were to grant class certification or
   grant summary judgment in Defendant’s favor then, given the stakes, the losing side would likely
   seek relief from the Eleventh Circuit.         In either case, continued litigation would delay the case’s
   resolution, impose additional unnecessary expense on both sides, and consume substantial
   additional judicial resources. When, as here, additional costs and delay are likely to be incurred
   absent a settlement, “it [is] proper to take the bird in the hand instead of a prospective flock in the


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     Grant v. Capital Mgmt. Servs., No. 10-cv-2471, 2014 U.S. Dist. LEXIS 29836 at *10 (S.D. Cal. Mar. 5, 2014)
   (injunctive relief only – no monetary relief to the class); Spillman v. RPM Pizza, LLC, No. 10-349, 2013 U.S. Dist.
   LEXIS 72947 at *2, *9 (M.D. La. May 23, 2013) ($9,750,000 to cover claims of over 1,400,000 class members);
   Arthur v. Sallie Mae, No. C10-198, 2012 U.S. Dist. LEXIS 3313 at *10, *20 (W.D. Wash. Jan. 10, 2012) (preliminarily
   approving settlement of $24,150,000 for class of 8,000,000 members), final approval granted at 2012 U.S. Dist. LEXIS
   132413 (W.D. Wash Sept. 17, 2012); Adams v. AllianceOne Receivables Mgmt., No. 08-cv-248 (S.D. Cal. Sept. 28,
   2012) ($9 million for 6,079,411 class members, see DE 109 at 10, 116 at 6, and 137).
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   bush.”    Lipuma, 406 F. Supp.2d at 1323, quoting In re Shell Oil Refinery, 155 F.R.D. 552, 560
   (E.D.La. 1993); see also Perez, 501 F. Supp.2d at 1381 (“With the uncertainties inherent in
   pursuing trial and appeal of this case, combined with the delays and complexities presented by the
   nature of the case, the benefits of a settlement are clear.”) In sum, the complexity, expense, and
   duration of litigation favors the approval of this Agreement.
                          4.      Substance and Amount of Opposition to Agreement
            The next Bennett factor is the substance and amount of opposition to the Agreement. Here,
   there is not a single objection and only twenty-two class members requested exclusion. Appendix
   2 at ¶¶17-18. The fact that there are no objections and the comprehensive notice provided to the
   class, demonstrates that class members find the agreement reasonable and fair, which strongly
   favors the Agreement.       See Lipuma, 406 F. Supp.2d at 1324 (“a low percentage of objections
   points to the reasonableness of a proposed settlement and supports its approval.”); Allapattah
   Servs., Inc. v. Exxon Corp., No. 91-cv-986, 2006 U.S. Dist. LEXIS 88347 at *44 (S.D. Fla. Apr.
   7, 2006) (“I infer from [the] absence of a significant number of objections that the majority of the
   Class found [the settlement agreement] reasonable and fair.”).
                          5.      Stage of Proceedings at which Settlement Achieved
            The final Bennett factor looks to the stage of proceedings at which the settlement was
   achieved. This factor is used “to ensure that the plaintiffs have access to sufficient information to
   adequately evaluate the merits of the case and weigh the benefits of the settlement against further
   litigation.” Perez, 501 F. Supp.2d at 1383; see also Access Now, Inc. v. Claire's Stores, Inc., No.
   00-cv-14017, 2002 U.S. Dist. LEXIS 28975 at *21 (S.D. Fla. May 7, 2002) (“Because the parties
   have expended much effort in analyzing the issues, this Court should find that the parties are at a
   proper juncture with sufficient information to settle this action.”); In re Sunbeam, 176 F. Supp.2d
   at 1332 (“Obviously, the case had progressed to a point where each side was well aware of the
   other side’s position and the merits thereof. This factor weighs in favor of the Court finding the
   proposed settlement to be fair, adequate, and reasonable.”)
            Here, the Agreement was not reached until after an exchange of discovery, ruling on the
   motion to dismiss and not until after two full days of mediation. Class Counsel ensured they had
   sufficient information about the allegations of the complaint, the size of the Settlement Class, and
   the range of the Settlement Class’s potential damages. Hence, there should be no question that, by

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   the time the Agreement was reached, Class Counsel had enough information to sufficiently
   evaluate the strength of the claims of the Settlement Class and weigh the benefits of the Agreement
   against continued litigation. The stage of proceedings factor thus weighs in favor of approval as
   well.
           V.      THE COST AND ATTORNEY FEE AMOUNT IS REASONABLE
           In the Eleventh Circuit, “it is well established that when a representative party has conferred
   a substantial benefit upon a class, counsel is entitled to an allowance of attorneys’ fees based upon
   the benefit obtained.”     In re Checking Acct. Overdraft Litig., 830 F. Supp.2d at 1358, citing
   Camden I Condo Ass’n v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991) and Boeing Co. v. Van
   Gemert, 444 U.S. 472, 478 (1980).
           Like the agreement on the relief to be provided to the class, the Parties’ subsequent
   agreement on the cost and attorney fee award stems from the last mediation with Mr. Max.
   Moreover, while it is within the Court’s discretion to determine the reasonableness of the proposed
   award, negotiated cost and attorney fee awards in class action settlements are strongly encouraged.
   See Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“Ideally, of course, litigants will settle the
   amount of the fee.”); accord Cohn v. Nelson, 375 F. Supp. 2d 844, 854 (E.D. Mo. 2005) (“where,
   as here, the parties have agreed on the amount of attorneys’ fees and expenses, courts give the
   parties’ agreement substantial deference.”)
           The reasonableness of this figure is confirmed by examining it both as a percentage of the
   total Settlement, as well as the various factors established for evaluating attorney fee requests
   (including the “Johnson” factors). Camden I Condo. Ass’n, 946 F.2d at 774-775.
           A. The Cost and Fee Amount Is Reasonable as a Percentage of the Total Settlement.
           “The majority of common fund fee awards fall between 20% to 30% of the fund.” Camden
   I Condo. Ass’n, 946 F.2d at 774. Courts regard this range as the “bench mark” range of
   reasonableness. See Id. at 775. The benchmark, however, is only that. The award may exceed it.
   Camden I Condo. Ass’n, 946 F.2d at 774-775 (as a general rule, “an upper limit is 50%”); Waters
   v. Int’l Precious Metals Corp., 190 F.3d 1291, 1295–96 (11th Cir.1999) (affirmed class attorneys’
   award of 33.3%). See, e.g., Wolff v. Cash 4 Titles, No. 03-cv-22778, 2012 WL 5290155, at *6
   (S.D. Fla. Sept. 26, 2012) (collecting cases and concluding that 33% is consistent with the market
   rate in class actions).

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            The mediated cost and fee award here easily satisfies that criteria. The Postcard Notice,
   Long Form Notice and Website all specifically set out both the amount and corresponding
   percentage of the attorney fees that were to be requested. The notices stated “…Class Counsel’s
   Fees not to exceed 25% of the Aggregate Settlement Fund, which is $2,750,000.” Appendix 2, at
   Exhibits B-C. The requested fee is inclusive of costs and does not seek fees from the value of the
   non-monetary benefits of the class. This alone establishes its reasonableness. See Faught v. Am.
   Home Shield Corp., 668 F.3d 1233, 1244-1245 (11th Cir. 2011) (cost and fee award reasonable in
   part because “the $1.5 million payment is designed to compensate the class counsel for the non-
   monetary benefits they achieved for the class.”).
            Recently, the Eleventh Circuit affirmed approval of $5.68 million in attorney fees when the class
   only claimed $344,850 and there was nonmonetary relief. Poertner v. Gillette Company, 14-13882 (11th
   Cir. July 16, 2015) (Unpublished). The Eleventh Circuit looked at the amount made available, the value
   of all of the factors and held:
            While no published opinion of ours extends Camden I’s percentage-of-recovery rule to learned
            treatise aptly illustrates, properly understood “[a] claims-made settlement is . . . the functional
            equivalent of a common fund settlement where the unclaimed funds revert to the defendant”;
            indeed, the two types of settlements are “fully synonymous.” 4 Rubenstein, supra, § 13:7.
            General of the United States and the attorneys general of each of the 50 states, the District of
            Columbia, and the United States Territories.

            The Eleventh’s Circuit’s holding in Gillette is in accord with Boeing Co. v. Van Gemert, 444
   U.S. 472, 478 (1980). In Boeing, the Supreme Court rejected the notation that the fees should be limited
   to the amount claimed8. Instead, the Supreme Court held that fees should be based on the amount made
   available. The Court specifically held:
            Their right to share the harvest of the lawsuit upon proof of their identity, whether or not they
            exercise it, is a benefit in the fund created by the efforts of the class representatives and their
            counsel. Unless absentees contribute to the payment of attorney's fees incurred on their behalves,
            they will pay nothing for the creation of the fund and their representatives may bear additional
            costs. The judgment entered by the District Court and affirmed by the Court of Appeals rectifies
            this inequity by requiring every member of the class to share attorney's fees to the same extent
            that he can share the recovery Since the benefits of the class recovery have been "traced with
            some accuracy" and the costs of recovery have been "shifted with some exactitude to those

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     “Boeing appealed only one provision of the judgment. It claimed that attorney's fees could not be awarded from the
   unclaimed portion of the judgment fund for at least two reasons. First, the equitable doctrine that allows the assessment
   of attorney's fees against a common fund created by the lawyers' efforts was inapposite because the money in the
   judgment fund would not benefit those class members who failed to claim it.” Id at 480.
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           benefiting."

   Id at 751. As such, Plaintiff’s request, which does not seek a percentage of the nonmonetary relief, is
   reasonable.
           B. The Cost and Fee Amount Is Also Reasonable under the Johnson Factors.

           In cases where fees are sought in excess of 25%, the Eleventh Circuit endorses using the
   factors articulated Johnson v. Georgia Highway Expr., Inc., 488 F.2d 714 (5th Cir. 1974), to
   confirm the reasonableness of fees and costs. See Camden I Condo. Ass’n, 946 F.2d at 775. The
   “Johnson factors” are (1) the time and labor required 9; (2) the novelty and difficulty of the
   questions; (3) the skill requisite to perform the legal service properly; (4) the preclusion of other
   employment by the attorney; (5) the customary fee; (6) whether the fee is contingent; (7) the time
   limitations imposed; (8) the amount involved and results obtained; (9) the experience, reputation
   and ability of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of the
   professional relationship with the client; and (12) awards in similar cases. Camden I, 946 F.2d at
   772. Here, however, the Parties’ settlement agreement limits the amount of attorneys’ fees below
   this threshold to only 25% of the Settlement. Faught, 668 F.3d at 1242 (11th Cir. 2011) (“the
   majority of fees in these cases are reasonable where they fall between 20-25% of the claims”).
   Yet, even if the Johnson factors applied, they further establish the reasonableness of the cost and fees.
                    1. The Time and Labor Required, Preclusion from Other Employment and
                       the Time Limits Imposed Justify the Cost and Fee Amount.

           The first, fourth, and seventh Johnson factors—the time and labor, preclusion of other
   employment, and time limitations imposed, respectively—are interrelated inquires and each
   support the reasonableness of the request.           This case has been pending since
   2 0 1 3 a n d Class Counsel had to engage in substantial litigation against a well-heeled defendant
   and sophisticated defense counsel to reach the Settlement.
           The work needed was extensive. These efforts required not only work representing
   Plaintiff and the class without compensation, but various in person and telephonic meetings with
   the FCC that directly discussed petitions on the definition of an ATDS that if granted would have

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     The Eleventh Circuit made clear in Camden I that percentage of the fund is the exclusive method for awarding fees
   in common fund class actions ... “[and] [t]he lodestar approach should not be imposed through the back door via a
   ‘cross-check.’” In re Checking Account Overdraft Litig., 830 F. Supp. 2d at 1362.
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   defeated Plaintiff’s claim. See Appendix 4, Keogh Decl., ¶29 (numerous in person meetings with
   FCC staff or commissioner’s advisors in Washington D.C. arguing against limiting ATDS to
   systems that actually dial numbers randomly in the narrowest interpretation.) To be clear, Class
   Counsel is not seeking fees or costs for work spent lobbying the FCC, but raises the point to
   illustrate that this litigation was multifaceted and complex. In addition, the time spent does not
   include the work still to come if final approval is granted, which will include supervising the
   administration of the settlement, answering Settlement Class Member questions, and resolving
   any issues that arise.
           The substantial work necessitated by this case diverted the time and resources from being
   put into other matters. See Yates v. Mobile Cnty. Pers. Bd., 719 F.2d 1530, 1535 (11th Cir. 1983)
   (The expenditure of time necessarily had some adverse impact upon the ability of counsel for
   plaintiff to accept other work, and this factor should raise the amount of the award.); see also
   Stalcup v. Schlage Lock Co., 505 F. Supp.2d 704, 708 (D. Colo. 2007) (noting that “the Johnson
   court concluded that priority work that delays a lawyer’s other work is entitled to a premium.”)
           Finally, and perhaps most tellingly, no Settlement Class Member raised any objection to
   Class Counsel’s effort or the cost and fee award proposed here despite the class notices explicitly
   advising of both the percentage and amount of the fees requested. Accordingly, the amount of
   time and labor devoted to this case supports the reasonableness of the cost and fee request.
                   2. The Case Involved Difficult Issues; the Risk of Nonpayment and Not
                      Prevailing on the Claims Was High.

           The second, sixth, and tenth Johnson factors—the novelty and difficulty of the questions,
   whether the fee is contingent, and the “undesirability” of the case, respectively—are also
   interrelated and support the requested cost and fee award.
           This case is novel on several levels. First, in most TCPA claims involving cell phones and
   text messaging are relatively new and the law as applied to these circumstances is still developing
   as the FCC just recently ruled on petitions related to the TCPA in its July 10, 2014 Order. See In
   the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act of
   1991, https://www.fcc.gov/document/tcpa-omnibus-declaratory-ruling-and-order (July 10, 2015).
           In addition, the ability to recover costs and fees in this case has always been contingent on
   a successful outcome and substantial recovery. The TCPA does not provide for an award of

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   attorney fees to a prevailing plaintiff. The only way to recover a fee is to be part of a large recovery.
   Counsel had to advance the costs and fees, and risked receiving nothing in return. This is important
   because “[a] determination of a fair fee for Class Counsel must include consideration of the
   contingent nature of the fee, the wholly contingent outlay of out-of-pocket sums by Class Counsel,
   and the fact that the risks of failure and nonpayment in a class action are extremely high.” Pinto,
   513 F. Supp.2d at 1339. Indeed, “[a] contingency fee arrangement often justifies an increase in the
   award of attorney’s fees.” In re Checking Acc’t Overdraft Litig., 830 F. Supp.2d at 1364, quoting
   In re Sunbeam Sec. Litig., 176 F. Supp.2d at 1335. Accordingly, some courts have observed that
   “[a]ttorneys’ risk is perhaps the foremost factor in determining an appropriate fee award.”
   Francisco v. Numismatic Guar. Corp., No. 06-61677, 2007 U.S. Dist. LEXIS 96618 at *35 (S.D.
   Fla. Jan. 30, 2007), citing Pinto, 513 F. Supp.2d at 1339.
           The novelty and contingent nature of the case demonstrate the undesirability of the case.
   Few lawyers will take on a lawsuit that consumes significant attorney time, involves uncertain
   questions, and requires the lawyers to advance out-of-pocket costs, and risk getting paid nothing.
           Although Class Counsel were able to achieve an excellent result for the class, achieving this
   outcome was anything but certain when they agreed to take the case, and thus these factors all
   weigh in favor of approving the mediated cost and fee amount. See In re Checking Account
   Overdraft Litig., 830 F. Supp. 2d at 1364 (“‘Undesirability’ and relevant risks must be evaluated
   from the standpoint of plaintiffs’ counsel as of the time they commenced the suit, not retroactively,
   with the benefit of hindsight”), citing Lindy Bros. Builders, Inc. v. Am. Radiator & Standard
   Sanitary Corp. 540 F.2d 102, 112 (3d Cir. 1976)).
                   3. Class Counsel Achieved an Excellent Result for the Settlement Class.

           The eighth Johnson factor looks to the amount involved in the litigation with particular
   emphasis on the “monetary results achieved” in the case by class counsel. See Allapattah Servs.,
   Inc. v. Exxon Corp., 454 F. Supp.2d 1185, 1202 (S.D. Fla. 2006).
           Here, the parties’ mediated Agreement contemplates a Settlement Fund of $11,000,000 for a
   class of approximately 515,960 persons. Appendix 2 at ¶3. Once again, each class member who
   submitted a valid claim will receive $50, which as noted above is well within the range of various
   other TCPA settlements that have been granted final approval. This factor thus weighs strongly in
   favor of approving the cost and fee amount. As shown above, this recovery is significant when
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   compared to many other TCPA cases that provided a portion of what each claimant will receive.
            While this factor typically focuses on the monetary relief, the non-monetary benefit of the
   Agreement, must also be considered. See Hall v. Cole, 412 U.S. 1, 5 n.7 (1973) (the right to fees
   “must logically extend, not only to litigation that confers a monetary benefit on others, but also
   litigation ‘which corrects or prevents an abuse which would be prejudicial to the rights and
   interests’ of those others.”) Once again, the value of the non-monetary relief has been valued at
   $42,283,627, but Class Counsel is not seeking fees from it. If they were, the fees sought would amount
   to only 5.16% of the benefit to the class. Thus, this factor also supports the agreed cost and fee amount.
                     4. The Requested Fee is Consistent with Other TCPA Class Settlements.

            The fifth and twelfth Johnson factors, the customary fee and awards in similar cases
   supports approval. Many similar TCPA class settlements provide for one third of the fund. See
   Guarisma v. ADCAHB Medical Coverages, Inc., et al., 1:13-cv-21016, Doc. 95 (S.D.FL. June 24,
   2015) (awarding one third plus costs) 10.
            Recently the court in In re Capital One Tel. Consumer Prot. Act Litig, 2015 U.S. Dist.
   LEXIS 17120, *62 (N.D. Ill. Feb. 12, 2015), analyzed dozens of TCPA class settlements
   throughout the country and determined that a risk adjusted fee structure would provide a fee of
   36% for the first $10 million and then lower percentages after that. See also Allapattah, 454 F.
   Supp.2d at 1202 (S.D. Fla. 2006) (awarding 31.33%). At 25%, the present Settlement Agreement


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      Gehrich v. Chase Bank, USA, N.A., No. 1:12-cv-05510 (N.D. Ill. Aug. 12, 2014) (preliminarily approving attorneys’
   fees and costs up to $11,000,000 (Feinerman, J.) (Dkt. No. 117) (one-third of the Settlement Fund after subtracting
   the Dedicated Cy Pres Distribution); Martin v. Dun & Bradstreet, Inc. et al, No. 1:12-cv-00215 (N.D. Ill. Jan. 16,
   2014) (Martin, J.) (Dkt. No. 63) (awarding one-third fee payment of distributed fund); Cummings v Sallie Mae, 12 C-
   9984 (N.D. Ill. May 30, 2014) (Gottschall, J.) (Dkt. No. 91) (awarding one-third of the common fund for fees); Hanley
   v. Fifth Third Bank, No. 1:12-cv-01612 (N.D. Ill. Dec. 23, 2013) (Castillo, J.) (Dkt. No. 86) (awarding one-third of
   common fund); Desai v. ADT Sec. Servs., Inc., No. 1:11-cv-01925 (N.D. Ill. June 21, 2013) (Bucklo, J.) (Dkt. No.
   243) (approving payment of one-third of common fund); Paldo Sign and Display Company v. Topsail Sportswear,
   Inc., No. 1:08-cv-05959 (N.D. Ill. Dec. 21, 2011) (Kennelly, J.) (Dkt. No. 116) (approving one-third of the settlement
   fund plus expenses); CE Design Ltd. v. Cy's Crab House N., Inc., No. 1:07-cv-05456 (N.D. Ill. Oct. 27, 2011)
   (Kennelly, J.) (Dkt. No. 424) (Dkt. No. 100) (same); G.M. Sign, Inc. v. Finish Thompson, Inc., No. 1:07-cv-05953
   (N.D. Ill. Nov. 1, 2010) (Kendall, J.) (Dkt. No. 146) (same); Hinman, et al., v. M & M Rental Ctr., Inc., No. 1:06-cv-
   01156 (N.D. Ill. Oct. 6, 2009) (Bucklo, J.) (Dkt. No. 225) (same); Holtzman v. CCH, No. 1:07-cv-07033 (N.D. Ill.
   Sept. 30, 2009) (Nordberg, J.) (Dkt. No. 33) (same); CE Design, Ltd. v. Exterior Sys., Inc., No. 1:07-cv-00066 (N.D.
   Ill. Dec. 6, 2007) (Darrah, J.) (Dkt. No. 39) (same); e.g., Locklear Elec., Inc. v. Norma L. Lay, No. 3:09-cv-00531
   (S.D. Ill. Sept. 8, 2010) (Reagan, J.) (awarding 33% of the common fund plus costs); Accounting Outsourcing, LLC.
   V. Verizon Wireless, No. 03-CV-161, 2007 U.S. Dist. LEXIS 97153, at *6-7 (M.D. La. 2007) (awarding in excess of
   35% of the common fund plus costs).

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   does not reach even this customarily approved one third mark and includes costs. Accordingly,
   this factor also favors the agreed cost and attorney fee award proposed here.
                   5. This Case Required a High Level of Skill.
           The remaining Johnson factors – the skill required to perform the legal services properly
   and the experience, reputation, and ability of the attorneys – confirm that the costs and fees sought
   are reasonable.    As shown above, Class Counsel achieved a settlement that confers substantial
   monetary and non-monetary benefits to the Settlement Class despite the hard fought litigation against a
   sophisticated and well-financed defendant represented by top-tier counsel. See In re Sunbeam Sec.
   Litig., 176 F. Supp.2d at 1334 (“In assessing the quality of representation, courts have also looked
   to the quality of the opposition the plaintiffs’ attorneys faced.”)
           This outcome was made possible by Class Counsel’s extensive experience in litigating class
   actions of similar size, scope, and complexity to the instant action. Class Counsel regularly engage
   in complex litigation involving consumer issues, all have been lead counsel in numerous TCPA
   cases, Mr. Keogh has the two largest settlements in the history of the TCPA and regularly lectures
   on the TCPA, Mr. Owens is one of the leading TCPA practitioners in Florida, and Mr. Lusskin is
   a consumer advocate who has been appointed class counsel as well. See Appendix 4 at ¶¶4 and 12
   and Appendix 5 at ¶15; Appendix 6 at ¶¶10-11. The Johnson factors confirm that the mediated
   cost and attorney fee award agreed is reasonable.
           Once again, since Class Counsel is seeking the benchmark of 25%, an examination of the
   Johnson factors is not required, but if these factors illustrate the fees sought are more than
   reasonable.
           VI.     CONCLUSION
           This Agreement provides significant and immediate benefits for the Class, it is the result
   of arm’s length, informed negotiations with the assistance of an experienced mediator, and it satisfies
   each of the six Bennett factors. The Agreement is fair, reasonable, and adequate under Rule 23,
   and thus Plaintiff respectfully requests that this Court enter an order granting it final approval. A
   draft Final Approval Order is attached as Appendix 7.



   Respectfully Submitted

   /s/ Scott D. Owens
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                                   CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that August 17, 2015, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this August 17, 2015, in some other authorized manner for those counsel or parties
   who are not authorized to receive electronically Notices of Electronic Filing.

                                                   By: /s/ Scott D. Owens
                                                   Scott D. Owens, Esq.




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